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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF IOWA


UNTED STATES OF AMERICA, STATE OF
IOWA,                                                      CASE NO. 4:23-CV-00106-SHL-HCA

               Plaintiffs,
                                                               ORDER CANCELING ALL
         vs.                                                 DEADLINES AND HEARINGS
                                                            AND FOR CLOSING DOCUMENTS
DANIEL EPHRAIM POTT-PEPPERMAN,

               Defendant.



        The parties reached a settlement agreement on May 8 2024, which will result in a stipulated

dismissal of all issues. Accordingly, all deadlines and hearings are canceled.

        Closing documents and stipulated dismissal shall be filed by August 8, 2024. If no closing

documents are filed, pursuant to Local Rule 41(c) the Court may order dismissal of this action

without further notice. Within 60 days of a dismissal order, either party may petition to have the

case reinstated after showing good cause as to why settlement was not in fact consummated.

        IT IS SO ORDERED.

        DATED May 8, 2024.




                                                       William P. Kelly
                                                       UNITED STATES MAGISTRATE JUDGE
